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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
MARC S. KIRSCHNER,

                               Plaintiff,

         -v-
                                                           CIVIL ACTION NO.: 17 Civ. 6334 (PGG) (SLC)

                                                                       SEALING ORDER
J.P. MORGAN CHASE BANK, N.A. et al.,

                               Defendants.

SARAH L. CAVE, United States Magistrate Judge.

         The Letter-Motion at ECF No. 162 to file portions of the documents at ECF No. 165 with

redactions is GRANTED. The documents filed at ECF No. 164 shall be visible only to the parties

in this action.

         The Clerk of Court is respectfully directed to close the Letter-Motion at ECF No. 162.


Dated:            New York, New York
                  October 19, 2020                           SO ORDERED
